          Case 2:15-cr-00226-GMN-PAL       Document 111      Filed 08/27/16    Page 1 of 6



1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3
     UNITED STATES OF AMERICA,                      )
4                                                   )
5
                         Plaintiff,                 )        Case No.: 2:15-cr-226-GMN-PAL
            vs.                                     )
6                                                   )                    ORDER
     JAZZMIN DAILEY,                                )
7                                                   )
                         Defendant.                 )
8
                                                    )
9

10          Pending before the Court is the Report and Recommendation (ECF No. 91) entered by
11   Magistrate Judge Peggy A. Leen on May 23, 2016, denying Defendant Jazzmin Dailey’s
12   (“Defendant’s”) Motion to Suppress Statements (ECF No. 73). Defendant timely filed her
13   Objection (ECF No. 99), and the Government timely filed a Response (ECF No. 102).
14   I.     BACKGROUND
15           On August 5, 2015, an Indictment (ECF No. 28) was entered charging Defendant and
16   co-Defendant Johnny Moore (“co-Defendant”) with Count One of Transportation of a Minor
17   for Prostitution, in violation of 18 U.S.C. §§ 2423(a) and (e), and Count Two of Attempt Sex
18   Trafficking of a Minor, in violation of 18 U.S.C. §§ 1591(a) and (b)(2) and §§ 1594(a) and (b).
19   The Indictment issued following the arrest of Defendant and co-Defendant by the Las Vegas
20   Metropolitan Police Department (the “LVMPD”). (R. & R. 1:20–2:1, ECF No. 91). Defendant
21   and a female juvenile were stopped by an LVMPD officer “in an area known for high
22   prostitution activity.” (Id. 1:22). The LVMPD officer eventually confirmed that the female
23   juvenile was a “minor who had been reported as a missing person.” (Id. 1:24 – 25). As Judge
24   Leen describes, “The female juvenile made statements [that] she was engaging in prostitution
25   acts directed by [Defendant and co-Defendant],” who were then both arrested. (Id. 2:1–2). At


                                               Page 1 of 6
         Case 2:15-cr-00226-GMN-PAL               Document 111          Filed 08/27/16       Page 2 of 6



1    the Clark County Detention Center, LVMPD Detective Chavez conducted a two taped
2    interrogations of Defendant. (Id. 2:3–4). At the start of each interrogation, Detective Chavez
3    gave Defendant the following Miranda warning:
4             You have the right to remain silent. Anything you say can be used against you in a court
              of law. You have the right to the presence of an attorney. If you cannot afford an
5
              attorney, one will be appointed to you before questioning. Do you understand [your
6             rights]1?

7    (First Interrogation Tr. 1, Ex. B to Mot. to Suppress, ECF No. 73-2); (Second Interrogation Tr.
8    1, Ex. C to Mot. to Suppress, ECF No. 73-3).2 Defendant responded affirmatively both times.
9    (Id.).
10            In her Motion to Suppress, Defendant first seeks to suppress any statements she made
11   during the initial stop by the LVMPD officer, prior to the reading of her Miranda rights. (Mot.
12   to Suppress 4:8 – 10, ECF No. 73). Judge Leen found that the Court did not need to examine
13   this first issue because “the [G]overnment affirmatively represents it will not seek to introduce
14   statements [Defendant made] during her initial detention and prior to the tape recorded post
15   Miranda statements.” (R. & R. 9:1–3).3 Next, Defendant also urges the Court to suppress the
16   statements she made during the two taped interrogations because the Miranda warnings were
17   “inadequate and violated her Fifth Amendment Rights.” (Id. 3:21–22). Specifically, Defendant
18   argues that the given Miranda warning “failed to advise [Defendant] that she not only had a
19   right to consult with an attorney before she decided whether or not to answer his questions, but
20   also that she had a right to have that attorney present throughout the interrogations.” (Id. 8:24–
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     1
       Detective Chavez’s first Miranda warning concluded with the question to Defendant, “Do you understand?”
     and the second asked, “Do you understand your rights?” (See First Interrogation Tr. 1); (Second Interrogation
23   Tr. 1). The Court clarifies here for purposes of accuracy, not to indicate a substantive distinction.
     2
       The parties do not dispute that these two recorded interrogations were custodial interrogations (see Obj. 3:12–
24   13, ECF No. 99), nor do they dispute that this quoted language represents the Miranda warning at issue here (id.
     5:2–3).
25
     3
       Defendant again raises this issue in her Objection, “reserve[ing] her objections to the admissibility of these
     statements in the event that the government changes its position.” (Obj. 3:9–11). The Court agrees with Judge
     Leen that the issue need not be addressed at this time.

                                                       Page 2 of 6
            Case 2:15-cr-00226-GMN-PAL       Document 111      Filed 08/27/16    Page 3 of 6



1    9:2). However, Judge Leen found that “the Miranda warnings [Defendant] received complied
2    with the four warnings Miranda mandates,” so she recommended denial of the motion. (R. &
3    R. 8:3–4).
4    II.      LEGAL STANDARD
5             A party may file specific written objections to the findings and recommendations of a
6    United States Magistrate Judge made pursuant to Local Rule IB 1–4. 28 U.S.C. § 636(b)(1)(B);
7    D. Nev. R. IB 3-2. Upon the filing of such objections, the Court must make a de novo
8    determination of those portions of the Report to which objections are made. Id. The Court may
9    accept, reject, or modify, in whole or in part, the findings or recommendations of the Magistrate
10   Judge. 28 U.S.C. § 636(b)(1); D. Nev. IB 3–2(b).
11   III.     DISCUSSION
12            Defendant asserts several objections to Judge Leen’s Report and Recommendation
13   denying her Motion to Suppress. (Obj., ECF No. 40). Defendant argues that the LVMPD’s
14   Miranda warning “even read in [its] totality, failed to completely advise [Defendant] that she
15   could consult with an attorney before and during interrogation.” (Id. 7:12–14). Further,
16   Defendant asserts that Judge Leen erred in “inferring rights that were not articulated and by
17   finding the rights given to [Defendant] were more explicit than the warnings deemed sufficient
18   in People of Territory of Guam v. Snaer[, 758 F.2d 1341, 1343 (9th Cir. 1985)].” (Id. 8:20–21).
19   Defendant explains that the “limited warnings administered by [the LVMPD] did not allow for
20   any reasonable inference as to when the attorney could be consulted and the role that attorney
21   would play within the constitutional protections articulated in Miranda [sic] or its progeny.”
22   (Id. 10:1–3). Ultimately, Defendant asserts that “the vague, if not completely omitted,
23   warnings given [to Defendant] prevented her from making an intelligent and knowing waiver of
24   her right to consult with an attorney before or during the interrogation.” (Id. 11:5–7). Overall,
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                                                 Page 3 of 6
         Case 2:15-cr-00226-GMN-PAL                Document 111          Filed 08/27/16        Page 4 of 6



1    these objections essentially reassert the same arguments presented in Defendant’s Motion to
2    Suppress.
3            The Fifth Amendment guarantees that no person “shall be compelled in any criminal
4    case to be a witness against himself.” U.S. Const. amend. V. The Supreme Court has held that
5    the Fifth Amendment affords a citizen the right to be informed prior to custodial interrogation
6    that “he has the right to remain silent, that anything he says can be used against him in a court
7    of law, that he has the right to the presence of an attorney, and that if he cannot afford an
8    attorney, one will be appointed for him prior to any questioning.” Miranda v. Arizona, 384
9    U.S.436, 479 (1966). The Supreme Court does not require a “talismanic incantation . . . to
10   satisfy [Miranda’s] strictures.” California v. Prysock, 453 U.S. 355, 359 (1981). Further,
11   courts reviewing the adequacy of warnings “need not examine Miranda warnings as if
12   construing a will or defining the terms of an easement.” Duckworth v. Eagan, 492 U.S. 195,
13   203 (1989). However, the warnings given must “adequately convey notice of the right to
14   consult with an attorney before questioning.” People of the Territory of Guam v. Snaer, 758
15   F.2d 1341, 1342 (9th Cir. 1985). Nevertheless, “[t]o be found inadequate, an ambiguous
16   warning must not readily permit an inference of the appropriate warning.” Doody v. Schriro,
17   548 F.3d 847, 863 (9th Cir. 2008), aff’d on remand by Doody v. Ryan, 649 F.3d 986 (9th Cir.
18   2011) (en banc).
19           The courts in this district are currently split as to the sufficiency of the standard Miranda
20   warnings given to defendants by the LVMPD.4 Two district judges have recently held that the
21   LVMPD’s standard advisement is inadequate, finding that the wording does not necessarily
22
     4
23     The Court notes that the Miranda warnings provided in these cases, except United States v. Carter and United
     States v. Moore, all differ slightly from the Miranda warning here, stating that the defendant had “the right to the
24   presence of an attorney during questioning” as opposed to the warning here of “the right to the presence of an
     attorney.” This minor variation could be a distinction, as Judge Dorsey noted in Loucious: “Had the warning
25   simply said ‘you have the right to the presence of an attorney,’ I might conclude that a reasonable person could
     infer that the right extends to all stages—before, during, and after questioning.” Order at 6:7–9, United States v.
     Loucious, Case No. 2:15-cr-106-JAD-CWH (D. Nev. Feb. 19, 2016), ECF No. 75.

                                                        Page 4 of 6
        Case 2:15-cr-00226-GMN-PAL          Document 111       Filed 08/27/16     Page 5 of 6



1    inform the defendant of the right to consult with an attorney before questioning. United States
2    v. Chavez, 111 F. Supp. 3d 1131, 1146 (D. Nev. 2015); Order at 6–7, United States v. Loucious,
3    Case No. 2:15-cr-106-JAD-CWH (D. Nev. Feb. 19, 2016), ECF No. 75. However, two other
4    district judges have upheld the LVMPD’s standard language, finding that based on the
5    warnings given, the defendant “would be able to grasp the substance of what he was told—that
6    he had the right to appointed counsel if he could not afford a lawyer and that the right exists
7    both before and during questioning.” United States v. Waters, Case No. 2:15-cr-80-JCM-VCF,
8    2016 WL 310738, at *8 (D. Nev. Jan. 26, 2016); United States v. Davis, Case No. 2:12-cr-289-
9    JCM-PAL, 2016 WL 3092110, at *3 (D. Nev. June 1, 2016); United States v. Carter, Case No.
10   2:15-cr-322-KJD-VCF, 2016 WL 3566984, at *2 (D. Nev. June 30, 2016). In recent ruling on
11   a similar motion filed by co-Defendant, this Court determined that the same Miranda warning
12   provided to Defendant was constitutionally adequate. See Order at 4–5, United States v. Moore,
13   Case No. 2:15-cr-226-GMN-PAL (D. Nev. Aug. 19, 2016), ECF No. 110.
14          Having reviewed the record in this case, and looked at the warning as a whole to
15   determine whether Defendant was adequately informed of her rights under Miranda, the Court
16   agrees with the analysis and findings of Judge Leen in her Report and Recommendation (ECF
17   No. 91) denying the Motion to Suppress and incorporates them by reference in this Order. The
18   Court finds that although Detective Chavez did not explicitly state that Defendant had a right to
19   consult with an attorney before questioning, a reasonable suspect would have understood that
20   right after hearing all of the Miranda warnings. Namely, the warnings that Defendant had “the
21   right to the presence of an attorney,” and that if she “cannot afford an attorney, one will be
22   appointed before questioning.” (First Interrogation Tr. 1); (Second Interrogation Tr. 1).
23          Miranda uses almost identical language as the LVMPD uses here. Compare Miranda v.
24   Arizona, 384 U.S. at 479 (“[H]e has the right to the presence of an attorney, and that if he
25   cannot afford an attorney, one will be appointed for him prior to any questioning.”) with (First


                                                 Page 5 of 6
           Case 2:15-cr-00226-GMN-PAL        Document 111       Filed 08/27/16    Page 6 of 6



1    Interrogation Tr. 1) (“You have the right to the presence of an attorney. If you cannot afford an
2    attorney, one will be appointed before questioning.”). The Ninth Circuit has stated: “Although
3    the Supreme Court does not require a verbatim reading of the Miranda rights to defendants, . . .
4    it certainly does not prohibit it.” United States v. Noti, 731 F.2d 610, 615 (9th Cir. 1984).
5    Therefore, the Court concludes that Defendant was properly informed of her Miranda rights at
6    the beginning of both interrogations.
7            Accordingly, the Court adopts the Report and Recommendation (ECF No. 91) and
8    denies Defendant’s Motion to Suppress Statements (ECF No. 73).
9    IV.     CONCLUSION
10           IT IS HEREBY ORDERED that Report and Recommendation (ECF No. 91) is
11   ACCEPTED and ADOPTED in full.
12           IT IS FURTHER ORDERED that Defendant’s Motion to Suppress Statements (ECF
13   No. 73) is DENIED.
14                       27
             DATED this _____ day of August, 2016.
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17                                                 Gloria M. Navarro, Chief Judge
                                                   United States District Court
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